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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                          (NORTHERN DIVISION)

                                              :
LISA M.F. KIM, et al.,                        :
                          Plaintiffs,         :
                                              :
vs.                                           :   Case No. 1:21-cv-655-DKC
                                              :
BOARD OF EDUCATION OF                         :
HOWARD COUNTY,                                :
                Defendant.                    :
                                              :

           MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

      Pursuant to Local Rule 101(2)(a)(1), I respectfully move to withdraw as counsel

for Defendant Board of Education of Howard County in the above-captioned matter,

as I will be leaving my position at Georgetown’s Institute for Constitutional Advocacy

& Protection imminently. Jonathan Backer, who entered his appearance in this

matter on March 24, 2021, will continue to serve counsel of record for Defendant.

                                        Respectfully submitted,
                                        /s/ Nicolas Y. Riley
                                        NICOLAS Y. RILEY (Bar No. 810809)
                                        INSTITUTE FOR CONSTITUTIONAL
                                        ADVOCACY AND PROTECTION
                                        Georgetown University Law Center
                                        600 New Jersey Avenue NW
                                        Washington, D.C. 20001
                                        Telephone: 202-662-9042
                                        nr537@georgetown.edu
July 2, 2021




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                           CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2021, I electronically filed a copy of the

foregoing. Notice of this filing will be sent via email to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s

CM/ECF System.


                                                 /s/ Nicolas Y. Riley
                                                 NICOLAS Y. RILEY
